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                    UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY
                          CAMDEN VICINAGE

                                              MDL No. 2875
  IN RE: VALSARTAN, LOSARTAN,
  AND IRBESARTAN PRODUCTS                     Honorable Robert B. Kugler,
  LIABILITY LITIGATION                        District Court Judge

                                              Honorable Joel Schneider,
  This Document Relates to All Actions        Magistrate Judge



    COMPENDIUM OF CHARTS REFERENCED IN THE WHOLESALER
    DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR
                    MOTION TO DISMISS
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                                   Chart 1

      STATES PROVIDING STATUTORY PROTECTION FOR INNOCENT SELLERS


   JURISDICTION                           CITATION
  ALABAMA         ALA. CODE § 6-5-521(b)
  COLORADO        COLO. REV. STAT. ANN. § 13-21-402
  DELAWARE        DEL. CODE ANN. tit. 18, § 7001
  GEORGIA         GA. CODE ANN. § 51-1-11.1
  IDAHO           IDAHO CODE ANN § 6-1407
  ILLINOIS        735 ILL. COMP. STAT. 5/2-621(a)
  INDIANA         IND. CODE ANN. § 34-20-2-3
  IOWA            IOWA CODE ANN. § 613.18(1)(a)
  KANSAS          KAN. STAT. ANN. § 60-3306
  KENTUCKY        KY. REV. STAT. ANN. § 411.340
  MARYLAND        MD. CODE ANN., Cts. and Jud. Proc. § 5-405(b)
  MINNESOTA       MINN. STAT. ANN. § 544.41
  MISSISSIPPI     MISS. CODE ANN. § 11-1-63(h)
  MISSOURI        MO. ANN. STAT. § 537.762
  NEBRASKA        NEB. REV. STAT. ANN. § 25-21,181
  NEW JERSEY      N.J. STAT. ANN. § 2A:58C-9
  NORTH           N.C. GEN. STAT. ANN. § 99B-2
  CAROLINA
  NORTH DAKOTA    N.D. CENT. CODE ANN. § 28-01.3-04
  OHIO            OHIO REV. CODE ANN. § 2307.78
  OKLAHOMA        OKLA. STAT. ANN. tit. 76 § 57.2(E)
  SOUTH DAKOTA    S.D. CODIFIED LAWS § 20-9-9
  TENNESSEE       TENN. CODE ANN. § 29-28-106
  TEXAS           TEX. CIV. PRAC. & REM. CODE ANN. § 82.003
  WASHINGTON      WASH. REV. CODE ANN. § 7.72.040
  WISCONSIN       WIS. STAT. ANN. § 895.047(2)




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                                    Chart 2

    STATES REQUIRING WRONGDOING BY DEFENDANTS IN ORDER TO RECOVER
                  UNDER AN UNJUST ENRICHMENT THEORY


   JURISDICTION                                CITATION
  ALABAMA          Mantiply v. Mantiply, 951 So. 2d 638, 654 (Ala. 2006) (“In
                   order for a plaintiff to prevail on a claim of unjust
                   enrichment, the plaintiff must show that the defendant holds
                   money which, in equity and good conscience, belongs to the
                   plaintiff or holds money which was improperly paid to
                   defendant because of mistake or fraud.”) (internal quotations
                   omitted); Thompson v. Bayer Corp., No. 4:07CV00017 JMM,
                   2009 U.S. Dist. LEXIS 15190, at *11-12 (E.D. Ark. Feb. 12,
                   2009) (“Alabama courts require unconscionable conduct on
                   the part of the defendant in order to make a claim for unjust
                   enrichment.”).
  CALIFORNIA       Fireworks Lady & Co., LLC v. Firstrans Int'l Co., No. CV
                   18-10776-CJC (MRWx), 2019 U.S. Dist. LEXIS 209935, at
                   *16 (C.D. Cal. Aug. 8, 2019) (“Under California law, unjust
                   enrichment is not an independent cause of action, but rather
                   the theory underlying a claim that a defendant has been
                   unjustly conferred a benefit through mistake, fraud, coercion,
                   or request.”) (internal quotations omitted).
  COLORADO         DCB Constr. Co., Inc. v. Central City Dev. Co., 965 P.2d 115,
                   117 (Colo. 1998) (holding that, for the enrichment to be
                   unjust, the plaintiff must how some improper, deceitful, or
                   misleading conduct by the defendant); Thompson v. Bayer
                   Corp., No. 4:07CV00017 JMM, 2009 U.S. Dist. LEXIS
                   15190, at *10-13 (E.D. Ark. Feb. 12, 2009) (citing same and
                   explaining that Colorado requires defendants’ conduct to be
                   unconscionable in order to make a claim for unjust
                   enrichment).




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   JURISDICTION                                CITATION
  CONNECTICUT      Greenwich Contracting Co. v. Bonwit Constr. Co., 239 A.2d
                   519, 523 (Conn. 1968) (holding unjust enrichment claim was
                   without merit because to unjustly enrich yourself at another’s
                   expense means to unlawfully enrich yourself at another’s
                   expense); accord Providence Elec. Co. v. Sutton Place, Inc.,
                   287 A.2d 379, 382 (Conn. 1971) (reversing and remanding
                   with direction to render judgment on the unjust enrichment
                   claim for the defendant because, while plaintiff proved
                   defendant’s enrichment, in the absence of fraud, the
                   enrichment was not unjust).
  DELAWARE         Bono v. O'Connor, No. 15-6326 (FLW), 2016 U.S. Dist.
                   LEXIS 185713, at *5-8 (D.N.J. Oct. 5, 2016) (rejecting
                   argument that a defendant who receives and accepts an
                   unlawful benefit is liable for unjust enrichment when that
                   defendant committed no wrong to hold that Delaware
                   “requires ‘wrongdoing’ on the part of the recipient”); In re
                   Lear Corp. S'holder Litig., 967 A.2d 640, 657 n.73 (Del. Ch.
                   2008) (explaining an unjust enrichment claim in Delaware
                   requires an absence of justification, such as wrongdoing or
                   mistake).
  DISTRICT OF      News World Commc’ns, Inc. v. Thompsen, 878 A.2d 1218,
  COLUMBIA         1225 (D.C. 2005) (“A claim for unjust enrichment accrues
                   only when the enrichment actually becomes unlawful, i.e.,
                   where there has been a wrongful act giving rise to a duty of
                   restitution.”) (internal quotations and citation omitted).
  FLORIDA          Hall v. Humana Hosp. Daytona Beach, 686 So. 2d 653, 656
                   (Fla. Dist. Ct. App. 1996) (citing Merritt v. Unkefer, 223 So.
                   2d 723, 724 (Fla. 1969)) (explaining that unjust enrichment is
                   “an equitable remedy requiring proof that money had been
                   paid due to fraud, misrepresentation, imposition, duress,
                   undue influence, mistake, or as a result of some other grounds
                   appropriate for intervention by a court of equity”).
  HAWAII           Hawaiian Ass'n of Seventh-Day Adventists v. Wong, 305 P.3d
                   452, 465 (Haw. 2013) (“A claim for unjust enrichment
                   permits a party to seek restitution for benefits improperly
                   conferred on an opposing party as a result of a wrongful
                   act.”).



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   JURISDICTION                                CITATION
  ILLINOIS         Chatham v. Sears, Roebuck & Co. (In re Sears, Roebuck &
                   Co.), Nos. MDL-1703, 05 C 4742, 05 C 2623, 2006 U.S.
                   Dist. LEXIS 92169, at *12-15 (N.D. Ill. Dec. 18, 2006)
                   (“[W]hen a plaintiff brings an unjust enrichment claim that is
                   based on wrongful conduct, plaintiff must plead and prove
                   that conduct.”); Alliance Acceptance Co. v. Yale Ins. Agency,
                   Inc., 648 N.E.2d 971, 977 (Ill. App. Ct. 1995) (recovery for
                   unjust enrichment permitted only when there is “unlawful or
                   improper conduct as defined by law, such as fraud, duress, or
                   undue influence”).
  IOWA             PFS Distrib. Co. v. Raduechel, No. 4-04-CV-10329, 2005
                   U.S. Dist. LEXIS 57648, at *5-6 (S.D. Iowa Aug. 30, 2005)
                   (“As noted by plaintiffs, each of the claims pled…—civil
                   conspiracy, unjust enrichment, misappropriation of plaintiff's
                   trade secrets, and aiding and abetting—depend upon a
                   showing of knowing and/or intentional wrongdoing.”).
  KENTUCKY         Bland v. Abbott Labs., Inc., No. 3:11-CV-430-H, 2012 WL
                   32577, at *5-6 (W.D. Ky. Jan. 6, 2012) (dismissing unjust
                   enrichment claim because “an unjust enrichment theory
                   ultimately requires proof of bad faith by the defendant”)
                   (internal quotations omitted).
  MASSACHUSETTS    Demoulas v. Demoulas Super Mkts., 677 N.E.2d 159, 196
                   (Mass. 1997) (“[T]he objective in addressing unjust
                   enrichment is to recover simply the amount derived from the
                   wrongdoing.”); Wong v. Chan, No. 11-P-867, 2012 WL
                   1557240, at *1 (Mass. App. Ct. 2012) (explaining that, in
                   order to determine whether a party was unjustly enriched, the
                   court must determine “whether through some significant
                   wrongdoing the defendant has acquired property that should
                   belong to the plaintiff”) (internal quotations omitted).
  MICHIGAN         Barker v. Dicicco, No. 234443, 2002 WL 31956978, at *1
                   (Mich. App. 2002) (requiring proof of coercion or mistake to
                   recover on unjust enrichment grounds); accord Ortiz v.
                   McNeil-PPC, Inc., No. 07cv678-MMA(CAB), 2009 U.S.
                   Dist. LEXIS 142628, at *12-13 (S.D. Cal. Mar. 6, 2009)
                   (citing same to show that Michigan requires unconscionable
                   conduct by the defendant in order to make a claim for unjust
                   enrichment).


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   JURISDICTION                                CITATION
  MINNESOTA        Caldas v. Affordable Granite & Stone, Inc., 820 N.W.2d 826,
                   838 (Minn. 2012) (“[T]o prevail on a claim of unjust
                   enrichment, a claimant must establish an implied-in-law or
                   quasi-contract in which the defendant received a benefit of
                   value that unjustly enriched the defendant in a manner that is
                   illegal or unlawful.”); ServiceMaster of St. Cloud v. GAB Bus.
                   Serv., Inc., 544 N.W.2d 302, 306 (Minn. 1996) (explaining
                   being enriched unjustly means being enriched illegally or
                   unlawfully).
  MISSOURI         Ariel Preferred Retail Grp. v. CWCapital Asset Mgmt., 883 F.
                   Supp. 2d 797, 822 (E.D. Mo. 2012) (“The mere receipt of
                   benefits is inadequate to show unjust enrichment in the
                   absence of any showing that it would be unjust for the
                   defendant to retain the benefit. There must be some
                   something more than passive acquiescence, such as fault or
                   undue advantage on the part of the defendant, for defendant's
                   retention of the benefit to be unjust. Finally, there can be no
                   unjust enrichment if the parties receive what they intended to
                   obtain.”) (internal citations and quotations omitted); S & J,
                   Inc. v. McLoud & Co., L.L.C., 108 S.W.3d 765, 768-69 (Mo.
                   Ct. App. 2003) (reciting same and reversing judgment in
                   favor of Plaintiff on its unjust enrichment claim because
                   Defendant was not a party to the contract and a third-party’s
                   wrongful conduct that Plaintiff argued Defendant “adopted
                   through acquiescence” was insufficient to find Defendant, a
                   passive beneficiary, liable).
  MONTANA          Albinger v. Harris, 48 P.3d 711, 716 (Mont. 2002) (citing
                   Sebena v. State, 883 P.2d 1263, 1268 (Mont. 1994)) (“The
                   doctrine of unjust enrichment is an equitable means of
                   preventing one party from benefitting by his or her wrongful
                   acts, and, as such requires a showing of misconduct or fault to
                   recover.”).




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   JURISDICTION                                CITATION
  NEBRASKA         Haggard Drilling, Inc. v. Greene, 236 N.W.2d 841, 846 (Neb.
                   1975) (explaining that fraud, misrepresentation, or wrongful
                   conduct is required on the part of the Defendant to prove
                   unjust enrichment); White v. State Farm Mut. Auto. Ins. Co.,
                   No. A-94-405., 1995 Neb. App. LEXIS 284, at *14-15 (Neb.
                   Ct. App. Sep. 5, 1995) (affirming summary judgment in favor
                   of Defendant on unjust enrichment claim because “[t]here
                   was no fraud.”).
  NEW JERSEY       Bono v. O'Connor, No. 15-6326 (FLW), 2016 U.S. Dist.
                   LEXIS 185713, at *5-8 (D.N.J. Oct. 5, 2016) (citing In re:
                   Cheerios Mktg. & Sales Practices Litig., Civil Action No. 09-
                   cv-2413, 2012 U.S. Dist. LEXIS 128325, at *36 (D.N.J. Sep.
                   10, 2012) to conclude that in Delaware, like in New Jersey,
                   “unjust enrichment is not a viable theory when there is no
                   conscious wrongdoing”).
  NORTH            Red Fox Future, LLC v. Holbrooks, No. 11 CVS 108, 2014
  CAROLINA         WL 1213235, at *13 (N.C. Super. Ct. Mar. 24, 2014)
                   (explaining that when a person has knowledge of a third
                   party’s wrongful acts, but did not himself commit or actively
                   participate in the wrongful acts, he is not liable for unjust
                   enrichment); Pender v. Bank of Am., NA, No. 3:05-CV-
                   00238-GCM, 2016 U.S. Dist. LEXIS 34919, at *12
                   (W.D.N.C. Mar. 10, 2016) (quoting Restatement (Third) of
                   Restitution and Unjust Enrichment § 51 (2011)) (“[T]he
                   unjust enrichment of a conscious wrongdoer . . . is the net
                   profit attributable to the underlying wrong. The object of
                   restitution in such cases is to eliminate profit from
                   wrongdoing while avoiding, so far as possible, the imposition
                   of a penalty.”).




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   JURISDICTION                                 CITATION
  NORTH DAKOTA     Jerry Harmon Motors v. Heth, 316 N.W.2d 324, 328 (N.D.
                   1982) (“A valid claim for unjust enrichment can be based
                   only on an element of misconduct or fault or undue advantage
                   taken by one party of another, and, in the absence of fraud or
                   bad faith, a person is not entitled to compensation on the
                   ground of unjust enrichment if he received from the other that
                   which it was agreed between them that the other should give
                   in return.”); In re Racing Servs., 595 B.R. 334, 365 (Bankr.
                   D.N.D. 2018) (holding that unjust enrichment claim failed
                   because there was no evidence of fraud, misconduct, fault, or
                   undue advantage).
  OHIO             McCamon-Hunt Ins. Agency, Inc. v. Med. Mut. of Ohio, No.
                   07 MA 94, 2008 WL 4444631, at *4 (Ohio Ct. App. Sept. 26,
                   2008) (explaining that unjust enrichment requires the plaintiff
                   to have conferred a benefit in response to fraud,
                   misrepresentation, or bad faith by the person allegedly
                   unjustly enriched, which “ensures a tie of causation between
                   the plaintiff's loss and the defendant's benefit”); accord Total
                   Office Sols., Inc. v. Grimstad, No. 18 CO 0014, 2019 WL
                   2721216, at *4 (Ohio Ct. App. June 27, 2019).
  OREGON           Teater v. Pfizer, Inc., No. 3:05-cv-00604-HU, 2013 U.S. Dist.
                   LEXIS 79629, at *15-17 (D. Or. May 13, 2013) (quoting
                   Tupper v. Roan, 243 P.3d 50, 59 (Or. 2010)) (explaining that
                   unjust enrichment requires wrongful conduct, such as
                   “mistake, fraud, coercion, undue influence, duress, taking
                   advantage of weakness, and violation of a duty imposed by a
                   confidential or fiduciary relationship”); Scoggins v. State
                   Constr. Corp., 485 P.2d 391, 393 (Or. 1971) (“A pleading of
                   unjust enrichment without pleading the alleged ground such
                   as mistake, coercion, undue influence, or fraud does not
                   adequately inform.”).




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 JURISDICTION                              CITATION
TEXAS           Bimbo Bakeries USA, Inc. v. Pinckney Molded Plastics, Inc.,
                No. 4:06-CV-180-A, 2007 WL 836874, at *6 (N.D. Tex. Mar.
                20, 2007) (dismissing Texas unjust enrichment claim because
                a viable claim requires “some type of unlawful behavior” and
                there was no “evidence of fraud, duress, or undue advantage”
                to support the claim); Thompson v. Bayer Corp., No.
                4:07CV00017 JMM, 2009 U.S. Dist. LEXIS 15190, at *10-13
                (E.D. Ark. Feb. 12, 2009) (explaining that Texas requires
                defendants’ conduct to be unconscionable in order to make a
                claim for unjust enrichment).
VIRGINIA        Qualichem v. Xelera, Inc., 62 Va. Cir. 179 (Va. Cir. Ct. 2003)
                (“[C]laims of unjust enrichment based on quasi-contract have
                been limited by the appellate courts of the Commonwealth to
                those arising from: money paid by mistake; failed
                consideration; money got through imposition; extortion;
                oppression; or any other undue advantage taken of the
                claiming party's situation, where the advantage is contrary to
                laws made for the protection of persons under those
                circumstances.”); Thompson v. Bayer Corp., No.
                4:07CV00017 JMM, 2009 U.S. Dist. LEXIS 15190, at *10-13
                (E.D. Ark. Feb. 12, 2009) (citing same and explaining that
                Virginia requires defendants’ conduct to be unconscionable in
                order to make a claim for unjust enrichment).
WEST VIRGINIA   Gaddy Eng'g Co. v. Bowles Rice McDavid Graff & Love,
                LLP, 231 W. Va. 577, 587 (W. Va. 2013) (“It is axiomatic
                that property which is the subject of an unjust enrichment
                claim must have been acquired by means of fraud or other
                similar circumstances[.]”); Gariety v. Thornton, No. 1:02-
                0344, 2006 U.S. Dist. LEXIS 114864, at *26-27 (S.D. W. Va.
                May 19, 2006) (rejecting argument that West Virginia’s
                unjust enrichment law could reach innocent beneficiaries).
WISCONSIN       Major Mat Co. v. Monsanto Co., 969 F.2d 579, 584–85 (7th
                Cir. 1992) (explaining that Wisconsin unjust enrichment law
                requires more than passive acceptance of a benefit, but
                “further requires a wrongful taking or appropriation of others'
                property to one's own use”); Abbott Labs. v. Norse Chem.
                Corp., 147 N.W.2d 529, 541 (Wis. 1967) (“Unjust
                enrichment… requires a wrongful taking or appropriation of
                others' property to one's own use.”).

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                                 Chart 3

 STATES REQUIRING A DIRECT BENEFIT BE CONFERRED ON DEFENDANT FOR
                        UNJUST ENRICHMENT

   STATE                                  AUTHORITY
ALABAMA        In re Gen. Motors LLC Ignition Switch Litig., 257 F. Supp. 3d
               372, 409 (S.D.N.Y. 2017), modified on reconsideration, No.
               1:14-mc-2543 (JMF), 2017 WL 3443623 (S.D.N.Y. Aug. 9,
               2017) (holding that, under Alabama law, “[a] defendant
               cannot be unjustly enriched if it does not have in its
               possession any money belonging to the plaintiff” and
               dismissing plaintiff’s unjust enrichment claim where plaintiff
               purchased her vehicle from a non-GM entity)
DELAWARE       Vichi v. Koninklijke Philips Electr. N.V., 62 A.3d 26, 59–60
               (Del. Ch. 2012) (“[A] plaintiff must show that there is some
               direct relationship between a defendant’s enrichment and a
               plaintiff’s impoverishment. In other words, there must be a
               showing that the defendant was enriched unjustly by the
               plaintiff who acted for the defendant’s benefit.”) (emphasis in
               original) (citation and internal quotation marks omitted)
FLORIDA        In re Packaged Seafood Prod. Antitrust Litig., 242 F. Supp.
               3d 1033, 1090 (S.D. Cal. 2017) (dismissing unjust
               enrichment claim under Florida law and citing Kopel v.
               Kopel, 229 So. 3d 812, 818 (Fla. 2017) wherein “the Florida
               Supreme Court explicitly acknowledged that ‘to prevail on an
               unjust enrichment claim, the plaintiff must directly confer a
               benefit to the defendant’”)
GEORGIA        Archer v. Holmes, No. 1:17-cv-2051, 2018 WL 534475, at *5
               (N.D. Ga. Jan. 23, 2018), reconsideration denied, No. 1:17-
               cv-2051, 2018 WL 3454899 (N.D. Ga. Apr. 9, 2018)
               (dismissing unjust enrichment claim and stating that “in
               Georgia, unjust enrichment claims lie only in those situations
               where a defendant has received a direct benefit from a
               plaintiff)
IDAHO          Sergeants Benevolent Ass’n Health & Welfare Fund v.
               Actavis, PLC, No. 1:15-cv-6549, 2018 WL 7197233, at *60–
               61 (S.D.N.Y. Dec. 26, 2018) (applying Idaho law)



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   STATE                                 AUTHORITY
KENTUCKY       Pixler v. Huff, No. 3:11-cv-207, 2011 WL 5597327, at *11
               (W.D. Ky. Nov. 17, 2011) (dismissing unjust enrichment
               claim and noting that “Kentucky courts have consistently
               found that the first element not only requires a benefit be
               conferred upon the defendant, but also that the plaintiff be the
               party conferring that benefit”)
MICHIGAN       In re Gen. Motors LLC Ignition Switch Litig., 257 F. Supp. 3d
               372, 427 (S.D.N.Y. 2017), modified on reconsideration, No.
               1:14-mc-2543, 2017 WL 3443623 (S.D.N.Y. Aug. 9, 2017)
               (applying Michigan law and dismissing Michigan plaintiffs’
               unjust enrichment claims “because Michigan courts only
               employ the doctrine of unjust enrichment in cases where the
               defendant directly receives a benefit from the plaintiff.”)
OHIO           Savett v. Whirlpool Corp., No. 1:12-cv-310, 2012 WL
               3780451, at *7 (N.D. Ohio Aug. 31, 2012); In re Dial
               Complete Mktg. & Sales Practices Litig., 312 F.R.D. 36, 72–
               73 (D.N.H. 2015) (applying Ohio law)
NEW JERSEY     Arlandson v. Hartz Mountain Corp., 792 F. Supp. 2d 691,
               711 (D.N.J. 2011) (“Since a plaintiff must confer a benefit on
               the defendant to support an unjust enrichment claim, this
               element has been interpreted by New Jersey courts as a
               requirement that the plaintiff allege a sufficiently direct
               relationship with the defendant to support the claim.”)
NEW YORK       Ga. Malone & Co. v. Rieder, 973 N.E.2d 743, 747 (N.Y.
               2012) (holding that “the relationship between [the plaintiff]
               and [the defendant] is too attenuated because they simply had
               no dealings with each other”)
NORTH DAKOTA   Apache Corp. v. MDU Res. Grp., Inc., 603 N.W.2d 891, 895
               (N.D. 1999); In re TFT-LCD (Flat Panel) Antitrust Litig., 599
               F. Supp. 2d 1179, 1190–91 (N.D. Cal. 2009) (applying North
               Dakota law and finding that under Apache Corp., a direct
               benefit is required for unjust enrichment claims)




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                                  Chart 4

       STATES REQUIRING ABSENCE OF AN ADEQUATE REMEDY AT LAW
                       FOR UNJUST ENRICHMENT

    STATE                                  AUTHORITY
ARIZONA         Ajose v. Interline Brands, Inc., 187 F. Supp. 3d 899, 915
                (M.D. Tenn 2016) (applying Arizona law) (recognizing that
                lack of an adequate remedy at law is a prima facie element of
                an unjust enrichment claim under Arizona law)
FLORIDA         Am. Honda Motor Co., Inc. v. Motorcycle Info. Network, Inc.,
                390 F. Supp. 2d 1170, 1178 (M.D. Fla. 2005) (“It is well
                settled in Florida that unjust enrichment is an equitable
                remedy and is, therefore, not available where there is an
                adequate legal remedy. Thus, to properly state a claim for
                unjust enrichment, a party must allege that no adequate legal
                remedy exists”)
IOWA            Mussmann v. Wal-Mart Stores, Inc., No. LA27486, 2001 WL
                36234327 (Iowa Dist. Ct. Dec. 21, 2001) (setting forth the
                elements of an unjust enrichment claim, which included there
                be “no remedy at law that can appropriately address the
                claim”)
LOUISIANA       Matheny v. Greer, 668 So. 2d 1359, 1362 (La. Ct. App. 1996)
                writ denied, 672 So. 2d 923 (La. 1996) (noting elements of
                unjust enrichment claim, which included that there be no
                other adequate remedy at law)
KANSAS          Pinkney v. TBC Corp., No. 2:19-cv-02680, 2020 WL
                1528544, at *7 (D. Kan. Mar. 31, 2020) (dismissing unjust
                enrichment claim where “[p]laintiff fail[ed] to plead the
                absence of an adequate remedy at law”)
NORTH DAKOTA    KLE Constr., LLC v. Twalker Dev., LLC, 887 N.W.2d 536,
                538 (N.D. 2016) (listing the elements of the cause of action
                and noting that the absence of a remedy provided by law is a
                necessary element).




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                                 Chart 5

 STATES PRECLUDING UNJUST ENRICHMENT WHERE THERE IS AN ADEQUATE
                          REMEDY AT LAW

    STATE                                  AUTHORITY
ALABAMA         Cmty. Spirit Bank v. Fid. Nat'l Title Ins. Co. of N.Y., No.
                3:09-cv-430-NW, 2009 WL 10688141, at *5 (N.D. Ala. June
                22, 2009) (unjust enrichment, an equitable remedy, is only
                available when there is not available remedy at law)
ARIZONA         Ajose v. Interline Brands, Inc., 187 F. Supp. 3d 899, 915
                (M.D. Tenn. 2016) (applying Arizona law); In re Gen.
                Motors LLC Ignition Switch Litig., 339 F. Supp. 3d 262, 334
                (S.D.N.Y. 2018) (applying Arizona law and noting that “a
                party must show the absence of a remedy at law” and it is
                immaterial whether the legal remedy is successful or viable)
CALIFORNIA      Philips v. Ford Motor Co., No. 5:14-cv-2989-LHK, 2015 WL
                4111448, *16 (N.D. Cal. July 7, 2015) (dismissing unjust
                enrichment claim and noting that “[a] plaintiff seeking
                equitable relief in California must establish that there is no
                adequate remedy at law available”); In re Ford Tailgate
                Litig., No. 3:11-cv-2953, 2014 WL 1007066, at *5 (N.D. Cal.
                Mar. 12, 2014), order corrected on denial of reconsideration,
                No. 3:11-cv-2953, 2014 WL 12649204 (N.D. Cal. Apr. 15,
                2014) (dismissing unjust enrichment claim and noting that to
                the extent “unjust enrichment is available as an independent
                claim . . . it will not stand where the claim simply mirrors
                other statutory or tort claims”)
COLORADO        Harris Grp., Inc. v. Robinson, 209 P.3d 1188, 1207 (Colo. Ct.
                App. 2009) (reversing jury award for unjust enrichment
                because “the company had an adequate remedy at law”)
CONNECTICUT     Town of Plainville v. Almost Home Animal Rescue & Shelter,
                Inc., 187 A.3d 1174, 1183 (Conn. Ct. App. 2018) (noting that
                “an action to recover on a theory of unjust enrichment is
                unavailable if there is an adequate remedy at law”)




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     STATE                                  AUTHORITY
DELAWARE        Total Care Physicians, P.A. v. O’Hara, No. Civ.A.99C-11-
                201-JRS, 2002 WL 31667901, at *10 (Del. Super. Ctr. Oct.
                29, 2002) (dismissing plaintiff’s unjust enrichment claims as
                a matter of law and stating that “[w]hen a plaintiff may avail
                itself of an adequate remedy at law, this Court will not hear a
                claim sounding in unjust enrichment”); Wahlcometroflex, Inc.
                v. Baldwin, 991 A.2d 44, 49–50 (Me. 2010) (applying
                Delaware law and dismissing unjust enrichment claim where
                it was based on the same factual allegations as plaintiff’s
                breach of fiduciary duty claim)
FLORIDA         Am. Honda Motor Co., Inc. v. Motorcycle Info. Network, Inc.,
                390 F. Supp. 2d 1170, 1178 (M.D. Fla. 2005) (dismissing
                unjust enrichment claim in amended counterclaim and noting
                that “[i]t is well settled in Florida that unjust enrichment is an
                equitable remedy and is, therefore, not available when there is
                an adequate legal remedy”); Jovine v. Abbott Laboratories,
                Inc., 795 F. Supp. 2d 1331, 1342-43 (S.D. Fla. 2011) (noting
                that if a plaintiff seeks recovery under unjust enrichment for
                the exact same wrongful conduct that form the basis of her
                other claims, the unjust enrichment claim will be dismissed)
HAWAII          Soule v. Hilton Worldwide, Inc., 1 F. Supp. 3d 1084, 1103 (D.
                Haw. 2014) (precluding unjust enrichment claim where
                plaintiff had an adequate remedy at law)
IDAHO           Mannos v. Moss, 155 P.3d 1166, 1173 (Idaho 2007) (“Unjust
                enrichment is an equitable claim and ‘[e]quitable claims will
                not be considered when an adequate legal remedy is
                available.’”) (quoting Iron Eagle Dev., L.L.C. v. Quality
                Design Sys., Inc., 65 P.3d 509, 514 (Idaho 2003))
ILLINOIS        Guinn v. Hoskins Chevrolet, 836 N.E.2d 681, 704 (Ill. Ct.
                App. 2005) (“Because it is an equitable remedy, unjust
                enrichment is only available when there is no adequate
                remedy at law”) (citation omitted)
INDIANA         Indiana ex rel. Zoeller v. Pastrick, 696 F. Supp. 2d 970, 999
                n. 7 (N.D. Ind. 2010) (noting that “[u]nder Indiana law,
                equitable principles such as unjust enrichment will not apply
                where there exists a remedy at law”) (citation omitted)




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     STATE                                 AUTHORITY
KENTUCKY        U.S. v. Stevens, 605 F. Supp. 2d 863, 869-70 (W.D. Ky.
                2008) (noting that where a plaintiff “has an adequate remedy
                at law, equity will not consider a claim for unjust
                enrichment”) (citation omitted)
LOUISIANA       La. Civ. Code Ann. art. 2298 (“The remedy [of unjust
                enrichment] is subsidiary and shall not be available if the law
                provides another remedy for the impoverishment or declares
                a contrary rule.”); Walters v. MedSouth Rec. Mgmt., LLC, 38
                So. 3d 245, 246–47 (La. 2010) (“The unjust enrichment
                remedy is only applicable to fill a gap in the law where no
                express remedy is provided.”)
MASSACHUSETTS   Shaulis v. Nordstrom, Inc., 865 F.3d 1, 16 (1st Cir. 2017)
                (dismissing plaintiff’s unjust enrichment claim even though
                plaintiff’s other legal claims were dismissed, because “[i]t is
                the availability of a remedy at law, not the viability of that
                remedy, that prohibits a claim for unjust enrichment”)
                (emphasis supplied)
MISSISSIPPI     In re Gen. Motors LLC Ignition Switch Litig., 339 F. Supp. 3d
                262, 335 (S.D.N.Y. 2018) (applying Mississippi law and
                noting that unjust enrichment is an equitable remedy that is
                unavailable when there is an adequate remedy at law,
                regardless of whether that adequate legal remedy is
                successful)
MISSOURI        Amalaco, LLC v. Butero, 593 S.W.3d 647, 653 (Mo. Ct. App.
                2019), reh'g and/or transfer denied (Jan. 21, 2020), transfer
                denied (Mar. 17, 2020) (concluding that plaintiff was not
                entitled to bring claim for unjust enrichment where he had an
                adequate remedy at law)
NEBRASKA        Pilot Inv. Grp. Ltd. v. Hofarth, 550 N.W.2d 27, 33 (Neb.
                1996) (recognizing that equitable remedies like unjust
                enrichment are generally not available where there is an
                adequate remedy at law)
NEVADA          Small v. Univ. Med. Ctr. of S. Nevada, No. 2:13-cv-298, 2016
                WL 4157309, at *3 (D. Nev. Aug. 3, 2016) (dismissing unjust
                enrichment claim where plaintiff had an adequate remedy at
                law)




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    STATE                                AUTHORITY
NEW JERSEY      Duffy v. Charles Schwab & Co., Inc., 123 F. Supp. 2d 802,
                814 (D.N.J. 2000) (“Restitution for unjust enrichment is an
                equitable remedy, available only when there is no adequate
                remedy at law”); In re Gen. Motors LLC Ignition Switch
                Litig., 339 F. Supp. 3d 262, 337-38 (S.D.N.Y. 2018)
                (applying New Jersey law and noting same)
NEW MEXICO      Figueroa v. Ethicon, Inc., No. 2:19-cv-1188 KWR/KRS,
                2020 WL 1434249, at *3 (D.N.M. Mar. 24, 2020) (stating
                that “an unjust enrichment will fail if there is a “complete and
                adequate remedy at law”) (quoting Sims v. Sims, 930 P.2d
                153, 159 (N.M. 1996))
NEW YORK        Bourbia v. S.C. Johnson & Son, Inc., 375 F. Supp. 3d 454,
                466 (S.D.N.Y. 2019) (although New York allows plaintiffs to
                plead unjust enrichment in the alternative, where it “is
                duplicative of other causes of action,” i.e., it “relies on the
                same conduct that forms the basis of [] other claims[,]” “it
                should be dismissed”).
NORTH           Hawks v. Brindle, 275 S.E.2d 277, 282 (N.C. Ct. App. 1981)
CAROLINA        (affirming directed verdict on unjust enrichment claim where
                plaintiff had an adequate remedy at law)
OHIO            Banks v. Nationwide Mut. Fire Ins. Co., No. 99AP-1413,
                2000 WL 1742064, at *5 (Ohio Ct. App. Nov. 28, 2000)
                (unjust enrichment is only available to prevent injustice
                where there is no adequate remedy in contract or tort)
OKLAHOMA        Naylor Farms, Inc. v. Anadarko OGC Co., No. 5:08-cv-668,
                2011 WL 7267851, at *1 (W.D. Okla. June 15, 2011) (unjust
                enrichment is not available where a party has an adequate
                remedy at law, “regardless of whether the party actually
                recovers thereon”)
OREGON          In re Gen. Motors LLC Ignition Switch Litig., 339 F. Supp. 3d
                262, 339 (S.D.N.Y. 2018) (applying Oregon law and noting
                that unjust enrichment is an equitable remedy that is
                unavailable when there is an adequate remedy at law,
                regardless of whether that adequate legal remedy is
                successful)




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    STATE                                AUTHORITY
PENNSYLVANIA    Meehan v. Cheltenham Twp., 189 A.2d 593, 595 (Pa. 1963)
                (holding that an adequate remedy at law existed so as to
                divest equity of jurisdiction of action for alleged unjust
                enrichment since law courts can provide remedy of money
                damages)
SOUTH           In re Gen. Motors LLC Ignition Switch Litig., 339 F. Supp. 3d
CAROLINA        262, 341 (S.D.N.Y. 2018) (applying South Carolina law and
                noting that unjust enrichment is an equitable remedy that is
                unavailable when there is an adequate remedy at law,
                regardless of whether that adequate legal remedy is
                successful)
SOUTH DAKOTA    Schumacher v. Tyson Fresh Meats, Inc., No. 1:02-cv-1027,
                2006 WL 7124778, at *4 (D.S.D. Apr. 10, 2006) (dismissing
                unjust enrichment claims, because, inter alia, “[i]t is firmly a
                established rule of law that a party cannot have an equitable
                remedy if an adequate remedy at law is available”) (citation
                omitted)
UTAH            Thorpe v. Wash. City, 243 P.3d 500, 507 (Utah Ct. App.
                2010) (affirming trial court’s refusal to award equitable
                remedy and noting that in Utah, “the law will not imply an
                equitable remedy where there is an adequate remedy at law”)
                (citation omitted)
VIRGINIA        R.M. Harrison Mech. Corp. v. Decker Indus., Inc., No.
                CL08–193, 2008 WL 10669311, at *7 (Va. Cir. Ct. Aug. 28,
                2008) (stating that “[f]or a claim of unjust enrichment to
                stand, the plaintiff must have no adequate remedy at law
                against the demurring defendant”)
WEST VIRGINIA   In re Gen. Motors LLC Ignition Switch Litig., 339 F. Supp. 3d
                262, 341-42 (S.D.N.Y. 2018) (applying West Virginia law
                and noting that unjust enrichment is an equitable remedy that
                is unavailable when there is an adequate remedy at law,
                regardless of whether that adequate legal remedy is
                successful)




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                                      Chart 6

    IMPLIED WARRANTY1: STATES REQUIRING PRIVITY FOR ECONOMIC LOSS
                               CLAIMS

     STATE                                   AUTHORITY
ALABAMA            State Farm Fire & Cas. Co. v. J.B. Plastics, Inc., 505 So.2d
                   1223, 1227 (Ala. 1987)
ARIZONA            Avram v. Samsung Electronics America, Inc., No. 2:11-6973,
                   2013 WL 3654090 (D.N.J. July 11, 2013) (citing Flory v.
                   Silvercrest Indus., 633 P.2d 383, 388 (1981)) (applying
                   Arizona law)
CONNECTICUT        Fraiser v. Stanley Black & Decker, Inc. 109 F.Supp.3d 498
                   (D. Conn. 2015)
FLORIDA            Mesa v. BMW of No. Am., LLC, 904 So.2d 450, 458 (Fla.
                   Dist. Ct. App. 2005)
GEORGIA            Lamb v. Georgia-Pacific Corp., 392 S.E.2d 307, 309 (Ga. Ct.
                   App. 1990)
ILLINOIS           Manley v. Hain Celestial Group, Inc., 417 F. Supp. 3d 1114
                   (N.D. Ill. 2019)
IDAHO              American West Enterprises v. CNH, LLC, 316 P.3d 662, 665
                   (Idaho 2013)
IOWA               Tomka v. Hoechst Celanese Corp., 528 N.W.2d 103, 108
                   (Iowa 1995)
KANSAS             Kice Industries, Inc. v. AWC Coatings, Inc., 255 F. Supp. 2d
                   1255 (D. Kansas 2003)
KENTUCKY           Simpson v. Champion Petfoods USA, Inc., 397 F. Supp. 3d
                   952, 970 (E.D. Ky. 2019)
MICHIGAN           Pidcock v. Ewing, 371 F. Supp. 2d 870, 878 (E.D. Mich.
                   2005)
NEW YORK           Cummings v. FCA US LLC, 401 F. Supp. 3d 288, 309
                   (N.D.N.Y. 2019)
NORTH              Energy Investors Fund, L.P., Inc. v. Metric Constructors,
CAROLINA           Inc., 525 S.E.2d 441, 446 (N.C. 2000)


1
 ELMC and MMMC named Plaintiffs are from the following states that require
dismissal of implied warranty claims for lack of privity: California, Connecticut,
Florida, Georgia, Illinois, Kansas, New York, North Carolina, and Ohio.

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   STATE                              AUTHORITY
OHIO           McKinney v. Bayer Corp., 744 F. Supp. 2d 733 (N.D. Ohio
               2010)
OREGON         Davis v. Homasote Co., 574 P.2d 1116, 1117 (Or. 1977)

TENNESSEE      Messer Greisheim Indus. v. Cryotech of Kingsport, Inc., 131
               S.W.3d 457, 463 (Tenn. Ct. App. 2003)
UTAH           Davencourt at Pilgrims Landing Homeowners Ass'n v.
               Davencourt at Pilgrams, LC, 221 P.3d 234, 252 (Utah 2009)
VERMONT        Mainline Tractor & Equip. Co., Inc. v. Nutrite Corp., 937
               F.Supp. 1095, 1108 (D. Vermont, 1996)
WISCONSIN      Twin Disc. Inc. v. Big Bud Tractor, Inc., 582 F.Supp. 208,
               215 (E.D. Wisc. 1984)




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                                       Chart 7

    EXPRESS WARRANTY2: STATES REQUIRING PRIVITY FOR ECONOMIC LOSS
                               CLAIMS

     STATE                                  AUTHORITY
FLORIDA             Weiss v. Johansen, 898 So.2d 1009 (Fla. 4th DCA 2005)

ILLINOIS            Manley v. Hain Celestial Group, Inc., 417 F. Supp. 3d 1114
                    (N.D. Ill. 2019)
INDIANA             Atkinson v. P&G-Clairol, Inc., 813 F. Supp. 2d 1021, 1026
                    (N.D. Ind. 2011)
IOWA                Tomka v. Hoechst Celanese Corp., 528 N.W.2d 103, 108
                    (Iowa 1995)
KENTUCKY            Simpson v. Champion Petfoods USA, Inc., 397 F. Supp. 3d
                    952, 970 (E.D. Ky. 2019)
MARYLAND            Copiers Typewriters Calculators, Inc. v. Toshiba Corp., 576
                    F. Supp. 312, 323 (D. Md. 1983)
MICHIGAN            Heritage Res., Inc. v. Caterpillar Fin. Servs. Corp., 284
                    Mich. App. 617, 638, 774 N.W.2d 332, 343 n.12 (2009)

WISCONSIN           Twin Disc. Inc. v. Big Bud Tractor, Inc., 582 F. Supp. 208,
                    215 (E.D. Wisc. 1984)




2
 ELMC and MMMC named Plaintiffs are from the following states that require
dismissal of express warranty claims for lack of privity: Florida, Illinois, Indiana,
and Maryland.

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                                 Chart 8

   STATES REQUIRING “BASIS OF THE BARGAIN” FOR EXPRESS WARRANTY

    STATE                             AUTHORITY
ALABAMA        ALA. CODE § 7-2-313(1)(A)

ALASKA         ALASKA STAT. § 45.02.313

ARIZONA        AZ. REV. STAT. ANN. § 47-2313(1)

ARKANSAS       ARK. CODE ANN. § 4-2-313(1)(A)

CALIFORNIA     CAL. COM. CODE § 2313(1)(A)

COLORADO       COLO. REV. STAT. § 4-2-313(1)(A)

CONNECTICUT    CONN. GEN. STAT. § 42A-2-313(1)

DELAWARE       DEL. CODE TIT. 6, § 2-313(1)(A)

DISTRICT OF    D.C. CODE § 28:2-313(1)(A)
COLUMBIA

FLORIDA        FLA. STAT. § 672.313(1)(A)

GEORGIA        GA. CODE ANN. § 11-2-313(1)(A)

HAWAII         HAW. REV. STAT. § 490:2-313

IDAHO          IDAHO CODE § 28-2-313

ILLINOIS       810 ILL. COMP. STAT. § 5/2-313(A)

INDIANA        IND. CODE § 26-1-2-313(1)(A)

IOWA           IOWA CODE ANN. § 554.2313(1)(A)

KANSAS         KAN. STAT. ANN. § 84-2-313(1)(A)

KENTUCKY       KY. REV. STAT. ANN. § 355.2-313

MAINE          ME. STAT. TIT. 11, § 2-313(1)(A)


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    STATE                           AUTHORITY
MARYLAND       MD. CODE ANN., COM. LAW § 2-313 (1)

MASSACHUSETT MASS. GEN. CH. 106 § 2-313
S

MICHIGAN       MICH. COMP. LAWS § 440.2313(1)(A)

MINNESOTA      MINN. STAT. § 336.2-313(1)(A)

MISSISSIPPI    MISS. CODE ANN. § 75-2-313(1)(A)

MISSOURI       MO. REV. STAT. § 400.2-313(1)

MONTANA        MONT. CODE ANN. § 30-2-313

NEBRASKA       NEB. REV. STAT. § 2-313

NEVADA         NEV. REV. STAT. § 104.2313

NEW            N.H. REV. STAT. ANN. § 382-A:2-313
HAMPSHIRE

NEW JERSEY     N.J. STAT. ANN. § 12A:2-313(1)(A)

NEW MEXICO     N.M. STAT. ANN. § 55-2-313(1)(A)

NEW YORK       N.Y. U.C.C. LAW § 2-313(1)(A)

NORTH          N.C. GEN. STAT. § 25-2-313(1)(A)
CAROLINA

NORTH DAKOTA N.D. CENT. CODE § 41-02.1-19

OHIO           OHIO REV. CODE ANN. § 1302.26(A)(1)

OKLAHOMA       OKLA. STAT. TIT. 12A, § 2-313

OREGON         OR. REV. STAT. § 72.3130

PENNSYLVANIA   13 PA. CONS. STAT. § 2313(1)

RHODE ISLAND   R.I. STAT. § 6A-2-313(1)


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    STATE                              AUTHORITY
SOUTH           S.C. CODE ANN. § 36-2-313
CAROLINA

SOUTH DAKOTA    S.D. CODIFIED LAWS § 57A-2-313

TENNESSEE       TENN. CODE ANN. § 47-2-313(1)(A)

TEXAS           TEX. BUS. & COM. CODE ANN. § 2.313(A)(1)

UTAH            UTAH CODE ANN. § 70A-2-313

VERMONT         VT. STAT. ANN. TIT. 9A, § 2-313

VIRGINIA        VA. CODE ANN.§ 8.2-313

WASHINGTON      WASH. REV. CODE § 62A.2-313

WEST VIRGINIA   W. VA. CODE, § 46-2-313

WISCONSIN       WIS. STAT. § 402.313(1)(A)

WYOMING         WYO. STAT. ANN. § 34.1-2-313




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                                 Chart 9

  STATES REQUIRING PRIVITY FOR NEGLIGENT MISREPRESENTATION CLAIMS


 JURISDICTION                             CITATION
CONNECTICUT     Steiner v. Shawmut Nat. Corp., 766 F. Supp. 1236, 1247 (D.
                Conn. 1991)
GEORGIA         White v. BDO Seidman, LLP, 549 S.E.2d 490, 492 (Ga. App.
                Ct. 2012)
MASSACHUSETTS   Austin v. Bradley, Barry & Tarlow, P.C., 836 F. Supp. 36, 38
                (D. Mass. 1993)
NEW YORK        Sykes v. RFD Third Ave. 1 Assocs., LLC, 938 N.E.2d 325, 326
                (2010)




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                                      Chart 10

                CLAIM-BY-CLAIM ARGUMENT REFERENCE CHART


Plaintiffs’ specific claims against the Wholesalers should be dismissed for the
reasons as set forth in the various briefs and supporting exhibits, including without
limitation as follows:

              PERSONAL INJURY MASTER COMPLAINT, DKT. 122
     (AND ALL PI COMPLAINTS WITH THE SAME OR SIMILAR ALLEGATIONS)
COUNTS 1-3:       DSCSA preemption             Wholesaler Br. at 11-12
STRICT LIABILITY                               (II.A); Pharmacy Br. at 5-10
                                               (I)
                  Innocent seller protections  Wholesaler Br. at 5-7 (I.A)
                                               and Chart 1; Pharmacy Br.
                                               at 29-30 (III) and Ex. B
                  FDCA implied preemption      Manufacturer Br. at 17-27
                                               (III.A)
                  No failure to warn (Count 2) Manufacturer Br. at 41-43
                                               (V.B.2), Manufacturer
                                               Charts at 29
                  No design defect (Count 3)   Manufacturer Br. at 39-41
                                               (V.B.1)
COUNTS 4-5:       Not adequately pleaded as to Wholesaler Br. at 27-28
NEGLIGENCE        Wholesalers                  (III.G); Pharmacy Br. at
                                               19-24 (II.B.1, II.B.2) and
                                               Ex. B
                  DSCSA preemption             Wholesaler Br. at 11-12
                                               (II.A); Pharmacy Br. at 5-10
                                               (I)
                  Innocent seller protections  Wholesaler Br. at 5-7 (I.A)
                                               and Chart 1; Pharmacy Br.
                                               at 29-30 (III) and Ex. B
                  FDCA implied preemption      Manufacturer Br. at 17-27
                  (Count 5)                    (III.A)
                  No negligence per se (Count  Manufacturer Br. at 43-44
                  5)                           (V.C); Manufacturer Charts
                                               at 30-32


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COUNT 6:        No Wholesaler warranties       Wholesaler Br. at 19-20
BREACH OF                                      (III.D.2)
EXPRESS         Not basis of bargain           Wholesaler Br. at 20
WARRANTY                                       (III.D.3); Manufacturer Br.
                                               at 47-48 (V.E.3.a);
                                               Manufacturer Charts at 41-
                                               43
                No specific language           Wholesaler Br. at 19-20
                                               (III.D.2); Manufacturer Br.
                                               at 48 (V.E.3.b);
                                               Manufacturer Charts at 44
                No guarantees                  Manufacturer Br. at 49
                                               (V.E.3.c)
                No pre-suit notice             Manufacturer Br. at 49
                                               (V.E.4); Manufacturer
                                               Charts at 45-50
                Lack of reliance               Wholesaler Br. at 20
                                               (III.D.3)
                DSCSA preemption               Wholesaler Br. at 11-12
                                               (II.A); Pharmacy Br. at 5-10
                                               (I)
                FDCA implied preemption        Manufacturer Br. at 17-27
                                               (III.A)
                Innocent seller protections    Wholesaler Br. at 5-7 (I.A)
                                               and Chart 1; Pharmacy Br.
                                               at 29-30 (III) and Ex. B
COUNT 7:        Wholesalers do not imply       Wholesaler Br. at 19
BREACH OF       warranties.                    (III.D.1); Pharmacy Br. at
IMPLIED                                        15-18 (II.A.2) and Ex. B
WARRANTY        FDCA implied preemption        Manufacturer Br. at 17-27
                                               (III.A)
                DSCSA preemption               Wholesaler Br. at 11-12
                                               (II.A); Pharmacy Br. at 5-10
                                               (I)
                Innocent seller protections    Wholesaler Br. at 5-7 (I.A)
                                               and Chart 1; Pharmacy Br.
                                               at 29-30 (III) and Ex. B




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COUNT 8:          Inadequately pleaded             Wholesaler Br. at 22-25
FRAUD                                              (III.E); Pharmacy Br. at 24-
                                                   25 (II.B.3); see also
                                                   Manufacturer Br. at 35-38
                                                   (V.A); Manufacturer Charts
                                                   at 17-18
                  FDCA implied preemption          Manufacturer Br. at 17-27
                                                   (III.A)
                  DSCSA preemption                 Wholesaler Br. at 11-12
                                                   (II.A); Pharmacy Br. at 5-10
                                                   (I)
COUNT 9:          Inadequately pleaded             Wholesaler Br. at 25-27
NEGLIGENT                                          (III.F); Pharmacy Br. at 24-
MISREPRESENTATI                                    25 (II.B.3)
ON                FDCA implied preemption          Manufacturer Br. at 17-27
                                                   (III.A)
                  DSCSA preemption                 Wholesaler Br. at 11-12
                                                   (II.A); Pharmacy Br. at 5-10
                                                   (I)
COUNT 10:         Inadequately pleaded             Wholesaler Br. at 28-29
BREACH OF                                          (III.H); Pharmacy Br. at 26-
CONSUMER                                           29 (II.B.4)
PROTECTION        FDCA implied preemption          Manufacturer Br. at 17-27
STATUTES                                           (III.A)
                  DSCSA preemption                 Wholesaler Br. at 11-12
                                                   (II.A); Pharmacy Br. at 5-10
                                                   (I)
COUNTS 11-13:     Claims are derivative and        Manufacturer Br. at 54
DERIVATIVE        therefore barred to the extent   (V.H.1)
CLAIMS            underlying claim is barred
COUNT 14:         No allegations against           Wholesaler Br. at 29-30
PUNITIVE          Wholesalers                      (III.I); Pharmacy Br. at 20-
DAMAGES                                            24, 28-29

                  Inadequately pleaded             Manufacturer Br. at 54-57
                                                   (V.H.2), Manufacturer
                                                   Charts at 64-69




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              ECONOMIC LOSS MASTER COMPLAINT, DKT. 398
                       (AN OPERATIVE COMPLAINT)
COUNTS 1 AND 2:   No Wholesaler warranties    Wholesaler Br. at 19-20
BREACH OF EXPRESS                             (III.D.2)
WARRANTY          Not basis of bargain        Wholesaler Br. at 20
                                              (III.D.3); Manufacturer Br. at
                                              47-48 (V.E.3.a);
                                              Manufacturer Charts at 41-43
                  No specific language        Wholesaler Br. at 19-20
                                              (III.D.2); Manufacturer Br. at
                                              48 (V.E.3.b); Manufacturer
                                              Charts at 44
                  No guarantees               Manufacturer Br. at 49
                                              (V.E.3.c)
                  No pre-suit notice          Manufacturer Br. at 49
                                              (V.E.4); Manufacturer Charts
                                              at 45-50
                  Lack of reliance            Wholesaler Br. at 20 (III.D.3)
                  DSCSA preemption            Wholesaler Br. at 11-12
                                              (II.A); Pharmacy Br. at 5-10
                                              (I)
                  FDCA implied preemption Manufacturer Br. at 17-27
                                              (III.A)
                  Innocent seller protections Wholesaler Br. at 5-7 (I.A)
                                              and Chart 1; Pharmacy Br. at
                                              29-30 (III) and Ex. B
                  Claims subsumed by          Manufacturer Br. at 33-35
                  product liability acts      (IV.B); Manufacturer Charts
                                              at 13-16
                  No standing or injury-in-   Wholesaler Br. at 8-10 (I.B);
                  fact                        Manufacturer Br. at 8-16 (II)
COUNTS 3 AND 4:   Wholesalers do not imply    Wholesaler Br. at 19
BREACH OF IMPLIED warranties.                 (III.D.1); Pharmacy Br. at 15-
WARRANTY                                      18 (II.A.2) and Ex. B
                  FDCA implied preemption Manufacturer Br. at 17-27
                                              (III.A)
                  Lack of injury or loss of   Manufacturer Br. at 46-47
                  functionality               (V.E.2)



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                  DSCSA preemption              Wholesaler Br. at 11-12
                                                (II.A); Pharmacy Br. at 5-10
                                                (I)
                  Claims subsumed by            Manufacturer Br. at 33-35
                  product liability acts        (IV.B); Manufacturer Charts
                                                at 13-16
                  No standing or injury-in-     Wholesaler Br. at 8-10 (I.B);
                  fact                          Manufacturer Br. at 8-16 (II)
                  Innocent seller protections   Wholesaler Br. at 5-7 (I.A)
                                                and Chart 1; Pharmacy Br. at
                                                29-30 (III) and Ex. B
COUNTS 5 AND 6:   No Wholesaler warranties,     Wholesaler Br. at 19-20
MMWA              express or implied            (III.D.1 & 2); Pharmacy Br.
                                                at 15-19 (II.A.2) and Ex. B
                  FDCA implied preemption       Manufacturer Br. at 17-27
                                                (III.A)
                  DSCSA preemption              Wholesaler Br. at 11-12
                                                (II.A); Pharmacy Br. at 5-10
                                                (I)
                  Claims subsumed by            Manufacturer Br. at 33-35
                  product liability acts        (IV.B); Manufacturer Charts
                                                at 13-16
                  No standing or injury-in-     Wholesaler Br. at 8-10 (I.B);
                  fact                          Manufacturer Br. at 8-16 (II)
                  Innocent seller protections   Wholesaler Br. at 5-7 (I.A)
                                                and Chart 1; Pharmacy Br. at
                                                29-30 (III) and Ex. B
COUNTS 7 AND 8:   Inadequately pleaded          Wholesaler Br. at 22-25
FRAUD                                           (III.E); Pharmacy Br. at 24-
                                                25 (II.B.3); see also
                                                Manufacturer Br. at 35-38
                                                (V.A); Manufacturer Charts
                                                at 17-18
                  FDCA implied preemption       Manufacturer Br. at 17-27
                                                (III.A)
                  DSCSA preemption              Wholesaler Br. at 11-12
                                                (II.A); Pharmacy Br. at 5-10
                                                (I)



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                    Claims subsumed by            Manufacturer Br. at 33-35
                    product liability acts        (IV.B); Manufacturer Charts
                                                  at 13-16
                    No standing or injury-in-     Wholesaler Br. at 8-10 (I.B);
                    fact                          Manufacturer Br. at 8-16 (II)
COUNTS 9 AND 10:    Inadequately pleaded          Wholesaler Br. at 25-27
NEGLIGENT                                         (III.F); Pharmacy Br. at 24-25
MISREPRESENTATIO                                  (II.B.3)
N                   FDCA implied preemption       Manufacturer Br. at 17-27
                                                  (III.A)
                    DSCSA preemption              Wholesaler Br. at 11-12
                                                  (II.A); Pharmacy Br. at 5-10
                                                  (I)
                    Claims subsumed by            Manufacturer Br. at 33-35
                    product liability acts        (IV.B); Manufacturer Charts
                                                  at 13-16
                  No standing or injury-in-       Wholesaler Br. at 8-10 (I.B);
                  fact                            Manufacturer Br. at 8-16 (II)
COUNTS 11 AND 12: Inadequately pleaded            Wholesaler Br. at 28-29
BREACH OF                                         (III.H); Pharmacy Br. at 26-
CONSUMER                                          29 (II.B.4)
PROTECTION          FDCA implied preemption       Manufacturer Br. at 17-27
STATUTES                                          (III.A)
                    DSCSA preemption              Wholesaler Br. at 11-12
                                                  (II.A); Pharmacy Br. at 5-10
                                                  (I)
                    Claims subsumed by            Manufacturer Br. at 33-35
                    product liability acts        (IV.B); Manufacturer Charts
                                                  at 19-23
                  No standing or injury-in-       Wholesaler Br. at 8-10 (I.B);
                  fact                            Manufacturer Br. at 8-16 (II)
COUNTS 13 AND 14: Adequate remedy at law          Wholesaler Br. at 16 (III.A);
UNJUST                                            Manufacturer Br. at 51-52
ENRICHMENT                                        (V.F) and Manufacturer
                                                  Charts at 58-59
                    No conscious wrongdoing       Wholesaler Br. at 14-16
                                                  (III.A); Pharmacy Br. at 27-
                                                  28 (II.B.4)



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                    Failure of renumeration     Wholesaler Br. at 15-16
                                                (III.A)
                  FDCA implied preemption Manufacturer Br. at 17-27
                                                (III.A)
                  DSCSA preemption              Wholesaler Br. at 11-12
                                                (II.A); Pharmacy Br. at 5-10
                                                (I)
                  Claims subsumed by            Manufacturer Br. at 33-35
                  product liability acts        (IV.B); Manufacturer Charts
                                                at 13-16
                  No standing or injury-in-     Wholesaler Br. at 8-10 (I.B);
                  fact                          Manufacturer Br. at 8-16 (II)
COUNTS 15 AND 16: Not adequately pleaded as to Wholesaler Br. at 27-28
NEGLIGENCE        Wholesalers                    (III.G); Pharmacy Br. at 19-
                                                 24 (II.B.1, II.B.2) and Ex. B
                  DSCSA preemption               Wholesaler Br. at 11-12
                                                 (II.A); Pharmacy Br. at 5-10
                                                 (I)
                  Innocent seller protections    Wholesaler Br. at 5-7 (I.A)
                                                 and Chart 1; Pharmacy Br. at
                                                 29-30 (III) and Ex. B
                  FDCA implied preemption        Manufacturer Br. at 17-27
                                                 (III.A)
                  Claims subsumed by product Manufacturer Br. at 33-35
                  liability acts                 (IV.B); Manufacturer Charts
                                                 at 13-16
                  No standing or injury-in-fact Wholesaler Br. at 8-10 (I.B);
                                                 Manufacturer Br. at 8-16 (II)
COUNT 17:         Not adequately pleaded as to Wholesaler Br. at 27-28
NEGLIGENCE PER SE Wholesalers                    (III.G); Pharmacy Br. at 19-
                                                 24 (II.B.1, II.B.2) and Ex. B
                  DSCSA preemption               Wholesaler Br. at 11-12
                                                 (II.A); Pharmacy Br. at 5-10
                                                 (I)
                  Innocent seller protections    Wholesaler Br. at 5-7 (I.A)
                                                 and Chart 1; Pharmacy Br. at
                                                 29-30 (III) and Ex. B
                  FDCA implied preemption        Manufacturer Br. at 17-27
                                                 (III.A)

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                    No negligence per se          Manufacturer Br. at 43-44
                                                  (V.C), Manufacturer Charts
                                                  at 30-32
                    Claims subsumed by product Manufacturer Br. at 33-35
                    liability acts                (IV.B); Manufacturer Charts
                                                  at 13-16
                    No standing or injury-in-fact Wholesaler Br. at 8-10 (I.B);
                                                  Manufacturer Br. at 8-16 (II)

           MEDICAL MONITORING MASTER COMPLAINT, DKT. 123
                      (AN OPERATIVE COMPLAINT)
COUNTS 1-2:      Not adequately pleaded as   Wholesaler Br. at 27-28
NEGLIGENCE       to Wholesalers              (III.G); Pharmacy Br. at 19-
                                             24 (II.B.1, II.B.2) and Ex. B
                 DSCSA preemption            Wholesaler Br. at 11-12
                                             (II.A); Pharmacy Br. at 5-10
                                             (I)
                 Innocent seller protections Wholesaler Br. at 5-7 (I.A)
                                             and Chart 1; Pharmacy Br. at
                                             29-30 (III) and Ex. B
                 FDCA implied preemption Manufacturer Br. at 17-27
                                             (III.A)
                 No negligence per se (Count Manufacturer Br. at 43-44
                 5)                          (V.C); Manufacturer Charts
                                             at 30-32
                 No standing or traceability Wholesaler Br. at 8-10 (I.B);
                                             Manufacturer Br. at 15-16
                                             (II.B, II.C)
COUNT 3:         Not recognized as a remedy Manufacturer Br. at 53-54
MEDICAL          or independent cause of     and Manufacturer Charts at
MONITORING       action                      60-61
COUNT 4: STRICT  DSCSA preemption            Wholesaler Br. at 11-12
LIABILITY                                    (II.A); Pharmacy Br. at 5-10
                                             (I)
                 Innocent seller protections Wholesaler Br. at 5-7 (I.A)
                                             and Chart 1; Pharmacy Br. at
                                             29-30 (III) and Ex. B
                 FDCA implied preemption Manufacturer Br. at 17-27
                                             (III.A)

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                   No standing or traceability   Wholesaler Br. at 8-10 (I.B);
                                                 Manufacturer Br. at 15-16
                                                 (II.B, II.C)
COUNT 5: FAILURE   DSCSA preemption              Wholesaler Br. at 11-12
TO WARN                                          (II.A); Pharmacy Br. at 5-10
                                                 (I)
                   Innocent seller protections   Wholesaler Br. at 5-7 (I.A)
                                                 and Chart 1; Pharmacy Br. at
                                                 29-30 (III) and Ex. B
                   FDCA implied preemption       Manufacturer Br. at 17-27
                                                 (III.A)
                   No standing or traceability   Wholesaler Br. at 8-10 (I.B);
                                                 Manufacturer Br. at 15-16
                                                 (II.B, II.C)
COUNT 6: MMWA No Wholesaler warranties,          Wholesaler Br. at 19-20
              express or implied                 (III.D.1 & 2); Pharmacy Br.
                                                 at 15-19 (II.A.2) and Ex. B
                   FDCA implied preemption       Manufacturer Br. at 17-27
                                                 (III.A)
                   DSCSA preemption              Wholesaler Br. at 11-12
                                                 (II.A); Pharmacy Br. at 5-10
                                                 (I)
                   No standing or traceability   Wholesaler Br. at 8-10 (I.B);
                                                 Manufacturer Br. at 15-16
                                                 (II.B, II.C)
                   Innocent seller protections   Wholesaler Br. at 5-7 (I.A)
                                                 and Chart 1; Pharmacy Br. at
                                                 29-30 (III) and Ex. B
COUNT 7: BREACH    Wholesalers do not imply      Wholesaler Br. at 19
OF IMPLIED         warranties.                   (III.D.1); Pharmacy Br. at 15-
WARRANTY                                         18 (II.A.2) and Ex. B
                   FDCA implied preemption       Manufacturer Br. at 17-27
                                                 (III.A)
                   Lack of injury or loss of     Manufacturer Br. at 46-47
                   functionality                 (V.E.2)
                   DSCSA preemption              Wholesaler Br. at 11-12
                                                 (II.A); Pharmacy Br. at 5-10
                                                 (I)



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                  No standing or traceability   Wholesaler Br. at 8-10 (I.B);
                                                Manufacturer Br. at 15-16
                                                (II.B, II.C)
                  Innocent seller protections   Wholesaler Br. at 5-7 (I.A)
                                                and Chart 1; Pharmacy Br. at
                                                29-30 (III) and Ex. B
COUNT 8: BREACH   No Wholesaler warranties      Wholesaler Br. at 19-20
OF EXPRESS                                      (III.D.2)
WARRANTY          Not basis of bargain          Wholesaler Br. at 20
                                                (III.D.3); Manufacturer Br. at
                                                47-48 (V.E.3.a);
                                                Manufacturer Charts at 41-43
                  No specific language          Wholesaler Br. at 19-20
                                                (III.D.2); Manufacturer Br. at
                                                48 (V.E.3.b); Manufacturer
                                                Charts at 44
                  No guarantees                 Manufacturer Br. at 49
                                                (V.E.3.c)
                  No pre-suit notice            Manufacturer Br. at 49
                                                (V.E.4); Manufacturer Charts
                                                at 45-50
                  Lack of reliance              Wholesaler Br. at 20 (III.D.3)
                  DSCSA preemption              Wholesaler Br. at 11-12
                                                (II.A); Pharmacy Br. at 5-10
                                                (I)
                  FDCA implied preemption       Manufacturer Br. at 17-27
                                                (III.A)
                  Innocent seller protections   Wholesaler Br. at 5-7 (I.A)
                                                and Chart 1; Pharmacy Br. at
                                                29-30 (III) and Ex. B
                  No standing or traceability   Wholesaler Br. at 8-10 (I.B);
                                                Manufacturer Br. at 15-16
                                                (II.B, II.C)
COUNT 9: FRAUD    Inadequately pleaded          Wholesaler Br. at 22-25
                                                (III.E); Pharmacy Br. at 24-
                                                25 (II.B.3); see also
                                                Manufacturer Br. at 35-38
                                                (V.A); Manufacturer Charts
                                                at 17-18

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                 FDCA implied preemption       Manufacturer Br. at 17-27
                                               (III.A)
                 DSCSA preemption              Wholesaler Br. at 11-12
                                               (II.A); Pharmacy Br. at 5-10
                                               (I)
                 No standing or traceability   Wholesaler Br. at 8-10 (I.B);
                                               Manufacturer Br. at 15-16
                                               (II.B, II.C)




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